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 8                                     UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    DERRIK MICHAEL BLANTON,                             No. 2:23-cv-2987 DB P
12                        Plaintiff,
13            v.                                          ORDER FOR PAYMENT OF INMATE
                                                          FILING FEE
14    D.O.J., et al.,
15                        Defendants.
16

17   To: Director of the California Department of Corrections and Rehabilitation, 1515 S Street,

18   Sacramento, California 95814:

19           Plaintiff, a state prisoner proceeding in forma pauperis, is obligated to pay the statutory

20   filing fee of $350.00 for this action. Plaintiff is assessed an initial partial filing fee of 20 percent

21   of the greater of (a) the average monthly deposits to plaintiff’s trust account; or (b) the average

22   monthly balance in plaintiff’s account for the 6-month period immediately preceding the filing of

23   this action. 28 U.S.C. § 1915(b)(1). Upon payment of that initial partial filing fee, plaintiff will

24   be obligated to make monthly payments in the amount of twenty percent of the preceding month’s

25   income credited to plaintiff’s trust account. The California Department of Corrections and

26   Rehabilitation is required to send to the Clerk of the Court the initial partial filing fee and

27   thereafter payments from plaintiff’s prison trust account each time the amount in the account

28   exceeds $10.00, until the statutory filing fee of $350.00 is paid in full. 28 U.S.C. § 1915(b)(2).
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 1             Good cause appearing therefore, IT IS HEREBY ORDERED that:

 2             1. The Director of the California Department of Corrections and Rehabilitation or a

 3   designee shall collect from plaintiff’s prison trust account an initial partial filing fee in

 4   accordance with the provisions of 28 U.S.C. § 1915(b)(1) as set forth in this order and shall

 5   forward the amount to the Clerk of the Court. The payment shall be clearly identified by the

 6   name and number assigned to this action.

 7             2. Thereafter, the Director of the California Department of Corrections and Rehabilitation

 8   or a designee shall collect from plaintiff’s prison trust account monthly payments in an amount

 9   equal to twenty percent (20%) of the preceding month’s income credited to the prisoner’s trust

10   account and forward payments to the Clerk of the Court each time the amount in the account

11   exceeds $10.00 in accordance with 28 U.S.C. § 1915(b)(2), until the $350.00 filing fee for this

12   action has been paid in full. The payments shall be clearly identified by the name and number

13   assigned to this action.

14             3. The Clerk of the Court is directed to serve a copy of this order and a copy of plaintiff’s

15   signed in forma pauperis affidavit on the Director, California Department of Corrections and

16   Rehabilitation, 1515 S Street, Sacramento, California 95814.

17             4. The Clerk of the Court is directed to serve a copy of this order on the Financial

18   Department of the court.

19   Dated: April 18, 2024

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     DLB:9/DB prisoner inbox/civil rights/S/blan2987.cdc
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